            Case 2:16-mj-00189-BAT             Document 17    Filed 04/27/16     Page 1 of 2




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,             Case No. MJ 16-189

10          v.                                           DETENTION ORDER

11 LUIS ALBERTO RAMIREZ ARRIDANDO,

12                                Defendant.

13          The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),

14 and based upon the factual findings and statement of reasons for detention hereafter set forth,

15 finds that no condition or combination of conditions which the defendant can meet will

16 reasonably assure the appearance of the defendant as required and the safety of any other person

17 and the community.

18         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

19          (1)    Defendant has been charged by complaint with a drug trafficking offense. He is

20 not a citizen of the United States. The Court received no information about defendant’s personal

21 history, residence, family or community ties, employment history, financial status, health, and

22 substance use. The defendant through his attorney made no argument as to release, and

23 stipulated to detention.



     DETENTION ORDER - 1
            Case 2:16-mj-00189-BAT          Document 17        Filed 04/27/16      Page 2 of 2




 1          It is therefore ORDERED:

 2          (1)    Defendant shall be detained pending trial and committed to the custody of the

 3 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 4 from persons awaiting or serving sentences, or being held in custody pending appeal;

 5          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 6 counsel;

 7          (3)    On order of a court of the United States or on request of an attorney for the

 8 Government, the person in charge of the correctional facility in which Defendant is confined

 9 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

10 connection with a court proceeding; and

11          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

12 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

13 Officer.

14          DATED this 27th day of April, 2016.

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                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
